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IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MISSOURI

EASTERN DIVISION

Carolynne Gaddie )
1744 Doll Rd. )
Hermann, MO 65041, )
)
Plaintiff, )

) Case No. 4:10-cv-01512
VS. )
)
Integrity Financial Partners, Inc. )
)
)
)
Defendant. )

Notice of Dismissal
It is hereby stipulated by and between plaintiff, Carolynne Gaddie, and defendant,
Integrity Financial Partners, Inc., that Plaintiffs Complaint and all of Plaintiff's claims and
causes of action arising herein be, and the same are, hereby dismissed with prejudice to plaintiff.
The parties shall bear their own court costs.

Respectfully submitted,

/s/ Steven R. Whis- oo —

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